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EXhibit

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cmu.m< 322
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:w_3< 322
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_2:._22
cm_3< 322
_m:cm_>_
cm_mm< 302
_2._:02
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_m:=m$_
cw_3< 322
_m:cm_>_
023< 302
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cm_3< 322
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023< 302

 

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EXhibit

 

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